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                  United States Court of Appeals
                               For the First Circuit


      No. 25-1170

         STATE OF NEW JERSEY; COMMONWEALTH OF MASSACHUSETTS; STATE OF
        CALIFORNIA; STATE OF COLORADO; STATE OF CONNECTICUT; STATE OF
          DELAWARE; DISTRICT OF COLUMBIA; STATE OF HAWAI'I; STATE OF
          MAINE; STATE OF MARYLAND; ATTORNEY GENERAL DANA NESSEL, on
        behalf of the People of Michigan; STATE OF MINNESOTA; STATE OF
        NEVADA; STATE OF NEW MEXICO; STATE OF NEW YORK; STATE OF NORTH
         CAROLINA; STATE OF RHODE ISLAND; STATE OF VERMONT; STATE OF
                 WISCONSIN; CITY AND COUNTY OF SAN FRANCISCO,

                               Plaintiffs, Appellees,

                                           v.

        DONALD J. TRUMP, in his official capacity as President of the
         United States; U.S. DEPARTMENT OF STATE; MARCO RUBIO, in his
         official capacity as Secretary of State; U.S. DEPARTMENT OF
         HOMELAND SECURITY; KRISTI NOEM, in her official capacity as
        Secretary of Homeland Security; U.S. DEPARTMENT OF HEALTH AND
       HUMAN SERVICES; ROBERT F. KENNEDY, JR., in his official capacity
       as Secretary of Health and Human Services; U.S. SOCIAL SECURITY
       ADMINISTRATION; LELAND DUDEK, in his official capacity as Acting
         Commissioner of Social Security; UNITED STATES OF AMERICA,

                              Defendants, Appellants.


                   APPEAL FROM THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

                    [Hon. Leo T. Sorokin, U.S. District Judge]


                                        Before

                               Barron, Chief Judge,
                       Rikelman and Aframe, Circuit Judges.
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      McArthur, Deputy Assistant Attorney General, Mark R. Freeman,
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      Rice, Solicitor General, and Whitney D. Hermandorfer, Director of
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      curiae.
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      America First Legal Foundation, George W. Vien, Pietro A. Conte,
      and Donnelly, Conroy & Gelhaar, LLP on brief for Members of
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      Jeffrey C. Tuomala, Rick Boyer, and Integrity Law Firm on brief
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      Foundation, Citizens United, U.S. Constitutional Rights Legal
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      Attorney General of Connecticut, Janelle Rose Medeiros, Assistant
      Attorney General, Brian L. Schwalb, Attorney General for the
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      Jeremey R. Girton, Assistant Attorney General, Kathleen Jennings,
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      on brief for appellees.



                                   March 11, 2025
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                  BARRON,    Chief   Judge.       Defendants-Appellants       ("the

      Government") move for a stay pending appeal of a February 13, 2025

      order by the United States District Court for the District of

      Massachusetts.1     The District Court's order granted a "universal"

      preliminary injunction to eighteen states ("Plaintiff-States"),

      including Massachusetts,2 in their suit challenging the enforcement

      of Executive Order No. 14,160.

                  Titled "Protecting the Meaning and Value of American

      Citizenship" ("Executive Order"), Exec. Order No. 14,160, 90 Fed.

      Reg. 8449 (Jan. 20, 2025), the Executive Order limits, in two

      circumstances, the persons whom federal officials may recognize as

      having United States citizenship based on having been born in the

      United States.        The first circumstance is "when that person's

      mother was unlawfully present in the United States and the father

      was not a United States citizen or lawful permanent resident at


            1The following movants have moved for leave to file an amicus
      (or amici) curiae brief in support of the Government's motion for
      a stay pending appeal: the State of Tennessee; 18 Members of
      Congress who serve on the Committee on the Judiciary of the U.S.
      House of Representatives; America's Future, Gun Owners of America,
      Gun Owners Foundation, Citizens United, U.S. Constitutional Rights
      Legal Defense Fund, Leadership Institute, and Conservative Legal
      Defense and Education Fund; and Former National Security Official
      Joshua Steinman. We grant those motions, and the proposed briefs
      are accepted as filed. We have considered the amicus briefs only
      insofar as they concern legal issues and positions raised by the
      parties. See Ryan v. U.S. Immigr. & Customs Enf't, 974 F.3d 9, 33
      n.10 (1st Cir. 2020).
            2The District of Columbia and the City of San Francisco also
      are plaintiffs.


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      the time of said person's birth."          Id.    The second circumstance is

      "when that person's mother's presence in the United States at the

      time of said person's birth was lawful but temporary . . . and the

      father was not a United States citizen or lawful permanent resident

      at the time of said person's birth."             Id.

                  The complaint alleges that the Executive Order violates

      the Citizenship Clause of the Fourteenth Amendment to the United

      States Constitution, which provides that "[a]ll persons born or

      naturalized in the United States, and subject to the jurisdiction

      thereof, are citizens of the United States and of the State wherein

      they reside."      U.S. Const. amend. XIV, § 1.             The complaint also

      alleges that the Executive Order violates 8 U.S.C. § 1401, which

      provides that "a person born in the United States, and subject to

      the jurisdiction thereof" "shall be . . . [a] citizen[] of the

      United States at birth."          The complaint names as the defendants

      the President, the Secretary of State, the Secretary of Homeland

      Security,    the    Secretary     of   Health     and   Human    Services,     the

      Commissioner       of   the   Social      Security       Administration,       the

      corresponding agencies, and the United States of America.

                  The Plaintiff-States moved for a preliminary injunction

      on January 21, 2025.          The District Court's order granting the

      motion enjoined all the officials named as defendants, but not the

      President, as well as all others "acting in concert with or on




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      behalf of any named defendant in this action" from "implementing

      and enforcing" the Executive Order.3

                  We   do   not   address    the    Government's     appeal    of   the

      preliminary injunction itself.          We address only the Government's

      stay motion, which asks us to decide whether the District Court's

      order granting a preliminary injunction should be stayed while

      this court takes up an interlocutory appeal of that injunction.

      Based on the arguments that the Government presents in support of

      the stay motion, we deny it.4

                                             I.

                  A preliminary injunction is an "extraordinary remedy."

      Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008).                 To



            3The District Court reasoned that "directly constraining the
      President's actions" was not necessary to provide relief to the
      Plaintiff-States, as "[o]ther officers and agencies within the
      Executive Branch are responsible for implementing the [Executive
      Order], and it is their conduct that the plaintiffs really seek to
      restrain."
            4The District Court also issued a preliminary injunction in
      the companion case of Doe et al. v. Trump et al., No. 25-cv-10135,
      which involved only private plaintiffs and organizations. That
      injunction did not provide relief to "other persons or
      organizations that are not parties to [that] lawsuit."         The
      Government has appealed that injunction but has not moved for a
      stay pending appeal of that injunction. We note too that the Ninth
      Circuit recently denied the Government's motion for a partial stay
      pending appeal of an order granting a nationwide preliminary
      injunction to four states in their challenge to the Executive
      Order. See Washington v. Trump, No. 25-807, 2025 WL 553485 (9th
      Cir. Feb. 19, 2025). The Fourth Circuit did the same in a case
      brought by private parties. See Casa, Inc. v. Trump, No. 25-1153,
      2025 WL 654902 (4th Cir. Feb. 28, 2025).


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      obtain this relief, a plaintiff "must establish" that: (1) it is

      "likely to succeed on the merits"; (2) it is "likely to suffer

      irreparable harm in the absence of preliminary relief"; (3) "the

      balance of equities tips in [its] favor"; and (4) "an injunction

      is in the public interest."          Id. at 20.       In addition, a plaintiff

      seeking a preliminary injunction "must make a 'clear showing' that

      [it] is 'likely' to establish each element of standing."                    Murthy

      v. Missouri, 603 U.S. 43, 58 (2024) (quoting Winter, 555 U.S. at

      22).      A grant of a preliminary injunction is reviewed for abuse of

      discretion.      Ashcroft v. ACLU, 542 U.S. 656, 664 (2004) (citation

      omitted).

                    The District Court determined that the Plaintiff-States

      met their burden of showing that they were likely to succeed in

      establishing their standing to challenge the Executive Order.                    It

      also determined that the Plaintiff-States showed that they were

      likely to succeed in establishing that the Executive Order violated

      the Citizenship Clause of the Fourteenth Amendment and 8 U.S.C.

      § 1401.         The     District    Court      next    determined        that   the

      Plaintiff-States showed that they would suffer irreparable harm in

      the    absence     of    their     requested    injunction       based     on   the

      Plaintiff-States'        declarations       "detailing     the    imminent      and

      damaging impacts they anticipate will flow from the [Executive

      Order]."        Finally,    the    District    Court     determined      that   the

      "[b]alance of [h]arms" and the "[p]ublic [i]nterest" supported the


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      injunction's issuance because "the [G]overnment has no legitimate

      interest      in    pursuing   unconstitutional     agency    action"     and    "an

      injunction [would] do no more than maintain a status quo that has

      been in place for well over a century."5                With respect to the

      "universal" aspect of the preliminary injunction, the District

      Court explained that such relief was "necessary because the record

      establishes that the harms these plaintiffs face arise not only

      from births within their borders, but also when children born

      elsewhere return or move to one of the plaintiff jurisdictions."

                    The Government filed a notice of appeal of the District

      Court's preliminary injunction order on February 19, 2025.                  On the

      same day, it filed a motion in the District Court to stay the

      preliminary injunction pending appeal.                See Fed. R. App. P.

      8(a)(1)(A) ("A party must ordinarily move first in the district

      court for . . . a stay of the judgment or order of a district court

      pending appeal.").

                    The     District    Court    denied    the     stay       motion   on

      February 26, 2025, explaining that "[t]he standard applicable to

      the       defendants'    [stay]     request    requires      consideration       of

      essentially the same four equitable factors that governed the

      plaintiffs' original motion."             The District Court reasoned that


            5The District Court noted that the parties both agree that 8
      U.S.C. § 1401 and the Citizenship Clause of the Fourteenth
      Amendment are "coterminous."    The Government does not seek to
      distinguish between them in its stay motion to us.


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      "[i]f the defendants could not succeed in that context, then they

      certainly cannot prevail now" because "[o]n the [stay] motion, the

      burden shifts to the defendants to establish entitlement to the

      extraordinary relief they seek."          The Government filed this motion

      for a stay pending appeal on February 27, 2025.              This court set an

      expedited briefing schedule.

                                            II.

                  "A stay is an intrusion into the ordinary processes of

      administration and judicial review, and accordingly is not a matter

      of right."     Nken v. Holder, 556 U.S. 418, 427 (2009) (internal

      quotation marks omitted).         Thus, the party seeking a stay -- here,

      the   Government    --   bears      the     burden   of    proving      that   the

      circumstances justify one.         Id. at 433-34.         To meet that burden,

      the Government must: (1) make a "strong showing that [it] is likely

      to succeed on the merits" in its appeal; (2) show that it "will be

      irreparably injured absent a stay"; (3) show that "issuance of the

      stay will [not] substantially injure the other parties interested

      in the proceeding"; and (4) show that the stay would be in "the

      public interest."     Id. at 434.         "The first two factors . . . are

      the most critical."      Id.

                  In evaluating these factors, we are mindful that "[t]he

      ability to grant interim relief is . . . a means of ensuring that

      appellate courts can responsibly fulfill their role in the judicial

      process."     Id. at 427.         But we are also aware of the "tight


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       timeline" for resolving applications for interim relief, which is

       "not     always     optimal      for    orderly     judicial       decisionmaking."

       Labrador v. Poe, 144 S. Ct. 921, 930 (2024) (Kavanaugh, J.,

       concurring in the grant of stay).                    That makes it especially

       important for us to keep in mind that as the "neutral arbiter of

       matters the parties present," we "rely on the parties to frame the

       issues for decision," Greenlaw v. United States, 554 U.S. 237, 243

       (2008), given our reluctance to definitively opine on issues for

       which we have been deprived of "the benefit of vigorous adversarial

       testing," Abernathy v. Wandes, 713 F.3d 538, 552 (1st Cir. 2013)

       (citing Hill v. Kemp, 478 F.3d 1236, 1251 (10th Cir. 2007)).

                     The Government expressly declines to make any developed

       argument that it is likely to succeed on appeal in showing that

       the Executive Order is either constitutional or compliant with 8

       U.S.C. § 1401.        Nor does the Government contest that, for more

       than a century, persons in the two categories that the Executive

       Order seeks to prevent from being recognized as United States

       citizens have been so recognized. Instead, the Government contends

       that     it   can   make   the    requisite       showing    for    a   stay   of   the

       preliminary injunction even without developing an argument to us

       that the Executive Order is lawful and even though the enforcement

       of the Executive Order would dramatically break with the Executive

       Branch's      longstanding        legal    position         and    thereby     disrupt

       longstanding governmental practices.                 See, e.g., Legis. Denying


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       Citizenship at Birth to Certain Child. Born in the U.S., 19 Op.

       O.L.C. 340, 340-47 (1995).           The Government's chief contention in

       so arguing is that, as to the first Nken factor, it has made a

       "strong showing" that the Plaintiff-States likely lack standing

       both under Article III of the U.S. Constitution, see U.S. Const.

       art. III, § 2, cl. 1 (providing that the "judicial Power shall

       extend" to all "Cases" and "Controversies"), and under third-party

       standing principles.            As we will explain, we conclude that, at

       least given its arguments in its stay motion, the Government has

       not made a "strong showing" to undermine the Plaintiff-States'

       standing in either respect.              We further conclude that it has not

       met its burden as to the other Nken factors.

                                                  A.

                   In        seeking      the      preliminary       injunction,       the

       Plaintiff-States contended, and the District Court agreed, that

       they were likely to establish that they had Article III standing

       based on a number of distinct kinds of injuries traceable to the

       enforcement      of    the   Executive      Order.      The    Plaintiff-States'

       contentions in this regard included that they likely could show

       that the enforcement of the Executive Order would "directly" cause

       the Plaintiff-States the "loss of federal . . . funds" that they

       otherwise would receive for administering federal programs that

       provide    healthcare,       education     for    special   needs   youth,    child

       welfare, and the Social Security Administration's Enumeration at


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       Birth program ("EAB").6             The Plaintiff-States relied on both

       Department of Commerce v. New York, 588 U.S. 752 (2019), and Biden

       v.   Nebraska,     143   S.   Ct.    2355   (2023),   as   support      for   this

       contention.

                   The    asserted    pocketbook      injuries    in   Department      of

       Commerce and Biden did take the form of a loss of federal funds to

       which the plaintiff-states in those cases would have been entitled

       absent the challenged federal governmental action.                See Dep't of

       Com., 588 U.S. at 766-67; Biden, 143 S. Ct. at 2366.              However, the

       Government's stay motion to us, like its opposition to the motion

       for the preliminary injunction, makes no reference to either

       precedent.        Its stay motion thus does not address how those

       precedents bear on the Plaintiff-States' Article III standing

       insofar as their injury-in-fact is premised on the loss of the

       federal funding itself.

                   The Government, in its reply to the Plaintiff-States'

       opposition to the stay motion, finally addresses Biden -- but still

       not Department of Commerce.          In Biden, one of the plaintiff-states

       there claimed a fiscal injury based on the loss of loan servicing


             6The EAB program provides a mechanism -- facilitated by
       states, including Plaintiff-States -- for newborns to apply for
       Social Security Numbers ("SSNs").          Even though eligible
       noncitizens (in addition to U.S. citizens) may apply for SSNs, the
       EAB program is only open to U.S. citizens by birth. See Soc. Sec.
       Admin., Pub No. 05-10023, Social Security Numbers for Children
       (2024), ssa.gov/pubs/EN-05-10023.pdf. States that administer the
       EAB program receive a service fee for each SSN issued.


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       fees that a corporation that it controlled would have received

       absent   the    Executive   Branch's   forgiveness      of   certain     federal

       student loans.      143 S. Ct. at 2365-66.        The Government contends

       that Biden only held that this asserted financial injury was

       "concrete" and incurred by the state and so did not address whether

       the injury was "too attenuated" to establish standing.                 But Biden

       held not just that the loss of loan servicing "fees that [the

       state-controlled corporation] otherwise would have earned" was a

       concrete injury, but also that it "[was] an injury in fact directly

       traceable to the [challenged government action]."               143 S. Ct. at

       2366 (emphasis added).

                  The Government relies principally in its stay motion on

       the analysis in a footnote in United States v. Texas, 599 U.S.

       670, 680 n.3 (2023), concerning the attenuated nature of the injury

       there, to contend that the Plaintiff-States likely cannot show a

       pocketbook injury for purposes of Article III standing.                      The

       plaintiff-states in Texas -- unlike the plaintiffs in Department

       of   Commerce     and   Biden    who   successfully      established       their

       standing -- did not allege that the challenged federal government

       action would result in their being denied federal funds to which

       they otherwise would be entitled.            Id. at 674.      In asserting a

       pocketbook injury, the plaintiff-states in Texas instead pointed

       to the additional state funds that they alleged that they would

       expend in response to the federal government's assertedly unlawful


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       under-regulation of third parties, which the plaintiff-states

       contended would cause more undocumented noncitizens to be within

       their states than otherwise would be the case.               Id. at 674-75.

       Thus, given how different Texas is not only from this case but

       also from Biden and Department of Commerce, the portion of the

       standing analysis in Texas on which the Government relies provides

       no basis for us to conclude that it has made the required "strong

       showing" to undermine the Plaintiff-States' Article III standing.7

                  The Government does also invoke in its stay motion an

       out-of-circuit precedent, Washington v. FDA, 108 F.4th 1163 (9th

       Cir. 2024), for the general proposition that an "indirect" fiscal

       injury does not constitute an Article III injury. One of the state

       plaintiffs in Washington claimed economic injury in the form of

       increased costs to the state's Medicaid system, and the court there

       determined that the claimed injury "depend[ed] on an attenuated

       chain of healthcare decisions by independent actors." Id. at 1174;

       see also id. at 1170-71 (explaining Idaho's contention that the

       FDA's elimination of an in-person dispensing requirement for a

       particular    medication   would    lead    to   increased    use    of   that



            7 Texas also emphasized that the challenged under-regulation
       in that case involved the "Executive Branch's exercise of
       enforcement discretion over whether to arrest or prosecute," and
       that "a party 'lacks a judicially cognizable interest in the
       prosecution . . . of another.'" 599 U.S. at 677 (alteration in
       original) (quoting Linda R.S. v. Richard D., 410 U.S. 614, 619
       (1973)). No such concern is presented here.


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       medication, which in turn would lead "more women [to] experience

       complications that require follow-up care, some of which [will be]

       borne by Idaho through Medicaid expenditures" (second alteration

       in original) (internal quotation marks omitted)).                   In other words,

       as in Texas, the asserted injury took the form of the additional

       state funds that the plaintiff-state claimed that it would spend

       as a result of the federal government's lack of regulation of a

       third party -- namely, the U.S. Food and Drug Administration's

       elimination      of     an    in-person         dispensing    requirement         for    a

       medication.    See id. at 1174.           This precedent thus no more assists

       the      Government's           position           with      respect         to         the

       loss-of-federal-funds-based injury at issue here than Texas does.

                  The Government separately contends in its stay motion,

       without reference to either Department of Commerce or Biden, that

       if the Plaintiff-States' alleged injury from the loss of fees from

       the Social Security Administration's EAB program sufficed for

       Article III standing, then states would "equally have standing to

       challenge any federal action that conceivably lowers the birthrate

       within   their     borders."          (Emphasis       added).       But,      although

       "qualifying for less federal funding" is "primarily [a] future

       injur[y],"    it      can    still   be    an    Article III    injury       when   "the

       threatened injury is certainly impending, or there is a substantial

       risk that the harm will occur."                 Dep't of Com., 588 U.S. at 767

       (emphasis added) (quoting Susan B. Anthony List v. Driehaus, 573


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       U.S. 149, 158 (2014)).           Yet, the Government does not explain why

       the loss of the EAB servicing fees differs from the loss of the

       loan servicing fees in Biden, which loss was held to be an

       Article III injury.        143 S. Ct. at 2365-66.

                      The Government more broadly contends in its stay motion

       that because the Plaintiff-States have "voluntarily chosen to

       provide       certain   benefits       without    regard   to   the    recipient's

       citizenship," "the costs they incur to do so are self-inflicted

       costs" that "are not traceable to the Executive Order" and thus

       "do not confer standing to sue in federal court."                     In doing so,

       the Government appears to contend that the Plaintiff-States have

       no claimed injuries that are immune from this "self-inflicted

       costs" objection.        But, insofar as this contention is a reprise of

       the argument based on Texas and Washington, it fails for the same

       reasons as that argument fails.            And, in any event, the Government

       has not explained why -- and so has not made a "strong showing"

       that     --   it   is   likely    to    succeed    in   establishing       that   the

       Plaintiff-States' claimed fiscal injury is the result of their

       "voluntary" choice to spend their own funds insofar as that injury

       is the loss of federal funds to which they otherwise would be

       entitled for administering the federal programs at issue.                      After

       all, Biden did not deem the plaintiff-state's loss of the fees for

       servicing federal student loans to be the result of such a choice

       by the plaintiff and thus not a basis for its Article III standing.


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       See 143 S. Ct. at 2365-66.       Nor did Department of Commerce so deem

       the loss of federal funds there.          588 U.S. at 766-67.

                  We thus conclude that the Government has failed to make

       a "strong showing" that the Plaintiff-States likely lack Article

       III standing.8

                                            B.

                  The Government separately contends in its stay motion to

       us that it can make a "strong showing" that the Plaintiff-States

       likely cannot satisfy third-party standing requirements even if

       they have Article III standing.           The Government first relies on



            8 In addressing the Plaintiff-States' claim that they likely
       had Article III standing, the District Court reasoned that the
       Plaintiff-States "very likely . . . have sovereign interests in
       which persons are U.S. citizens, as state laws commonly define
       civic obligations such as jury service using eligibility criteria
       that include U.S. citizenship." The Plaintiff-States also allege
       an Article III injury based on the administrative costs associated
       with updating their citizenship verification systems. We need not
       resolve whether either the Plaintiff-States' sovereign interests
       or administrative burdens provide alternative bases for their
       Article III standing, because we conclude that the Government has
       not made the requisite "strong showing" to undermine the
       Plaintiff-States' claimed injury from the loss of federal funds.
       We will have time enough to address the questions concerning those
       asserted injuries, if necessary, in connection with the appeal of
       the preliminary injunction itself. The Government does contend
       that if such administrative burdens sufficed for Article III
       standing, then states would have standing to challenge "any change
       in the federal government's policies . . . [that] would affect
       eligibility for federal programs."       The Government does not
       contend, however, that the same concern applies insofar as the
       Plaintiff-States predicate their Article III standing on the
       claimed loss of federal funds -- nor is it evident why, in the
       face of Biden and Department of Commerce, that concern would be
       well-taken.


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       Warth v. Seldin, 422 U.S. 490 (1975), and Kowalski v. Tesmer, 543

       U.S. 125 (2004), for the proposition that a plaintiff "must assert

       his own legal rights and interests," 422 U.S. at 499, and that a

       constitutional claim should be brought by the person "at whom the

       constitutional protection is aimed," 543 U.S. at 129 (quoting Sec'y

       of State of Md. v. Joseph H. Munson Co., 467 U.S. 947, 955 n.5

       (1984)).     It thus contends that the Plaintiff-States may not rely

       on either the Citizenship Clause of the Fourteenth Amendment or 8

       U.S.C. § 1401 to challenge the Executive Order, as individuals

       rather than states hold the right of birthright citizenship that

       those provisions guarantee.

                   In the proceedings in the District Court, however, the

       Government did not mention, cite to, or otherwise address the

       portion of Kowalski that recognized that "[i]n several cases, [the

       Supreme Court] has allowed standing to litigate the rights of third

       parties when enforcement of the challenged restriction against the

       litigant would result indirectly in the violation of third parties'

       rights."     543 U.S. at 130 (quoting Warth, 422 U.S. at 510).                  And

       the Government did not do so even though the Supreme Court has

       explained     after   Kowalski   that     it    has   "generally        permitted

       plaintiffs    to   assert   third-party     rights    in   cases"       where   the

       above-mentioned condition in Kowalski is met.               June Med. Servs.

       L.L.C. v. Russo, 591 U.S. 299, 318 (2020) (citing Kowalski, 543

       U.S. at 130).      Nor does the Government's stay motion address this


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       possible    ground    for     the    Plaintiff-States'           securing     so-called

       third-party standing.           Instead, the motion merely once again

       asserts    that    "[t]he     [Plaintiff-States]          need    to   allege    fiscal

       injuries because the Executive Order violates their own rights,

       not just fiscal injuries resulting from an order which, they

       allege, unlawfully violates someone else's rights."

                   For the first time in its reply to the Plaintiff-States'

       opposition to the stay motion, the Government addresses this aspect

       of Kowalski.        It does so by asserting that what it terms this

       "exception" to the general rule applies only to "parties facing

       sanctions, criminal convictions, or civil penalties," and cites

       Craig v. Boren, 429 U.S. 190, 193 (1976), for this proposition.

       Even if we were to excuse the belated nature of the contention,

       see Sparkle Hill, Inc. v. Interstate Mat Corp., 788 F.3d 25, 29

       (1st Cir. 2015) ("Our precedent is clear: we do not consider

       arguments for reversing a decision of a district court when the

       argument is not raised in a party's opening brief."); June Medical,

       591 U.S. at 316-18 (arguments challenging third-party standing may

       be waived), Craig does not so hold, and the Government does not

       point to any case that does.                In fact, Craig observed that the

       litigant     faced the possibility of "incurring a direct economic

       injury through the constriction of . . . [the] market," and that

       "such     injuries     establish          the      threshold      requirements       of"

       Article III       standing.         429    U.S.    at   194.      Furthermore,       the


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       Government ignores the fact that June Medical, 591 U.S. at 318-19,

       in recognizing this ground for asserting third-party rights, cited

       to Barrows v. Jackson, 346 U.S. 249 (1953), in which the Supreme

       Court allowed a litigant facing a "direct, pocketbook injury" in

       the form of a civil suit seeking damages for the litigant's alleged

       breach of a racially restrictive covenant to assert a third party's

       equal protection rights as a defense against that suit, id. at

       251-52, 256.        Thus, the Government still fails to explain why

       limitations on third-party standing bar the Plaintiff-States from

       relying on the Citizenship Clause and 8 U.S.C. § 1401 to challenge

       the Executive Order based on the logic that "enforcement of the

       challenged restriction against [them] would result indirectly in

       the violation of [the] rights [of those individuals excluded from

       citizenship by the Executive Order]."              June Med. Servs., 591 U.S.

       at 318 (quoting Kowalski, 543 U.S. at 130).

                  Indeed,        under    the    Executive   Order,    to     achieve     the

       "[p]urpose" of ensuring that "the privilege of United States

       citizenship does not automatically extend to persons born in the

       United   States"     in    certain       circumstances     described    above,     "no

       department     or     agency       of      the    United     States        government

       shall . . . accept documents issued by State, local, or other

       governments or authorities purporting to recognize United States

       citizenship" for such persons.                90 Fed. Reg. 8449.            Thus, in

       directly   operating       as     to   the   Plaintiff-States,        and    not   the


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       individuals excluded from citizenship, the Executive Order causes

       the Plaintiff-States to lose federal funds but nonetheless has the

       indirect    effect    of   preventing    the   individuals     from     obtaining

       federally funded services based on their U.S. citizenship.                    As a

       result, the Government in seeking the stay from us, as in its

       filings in the District Court, simply does not engage with whether

       the enforcement of the challenged governmental action against the

       Plaintiff-States would result "indirectly" in the violation of the

       individuals' rights under the Citizenship Clause and 8 U.S.C

       § 1401.    June Med. Servs., 591 U.S. at 318 (quoting Kowalski, 543

       U.S. at 130).

                     The   Government    also    cites    to    South     Carolina     v.

       Katzenbach, 383 U.S. 301 (1966), Haaland v. Brackeen, 599 U.S. 255

       (2023), and Murthy, 603 U.S. 43, for the proposition that states

       may not "assert[] derivative injuries from the alleged violations

       of other individuals' rights."            But Katzenbach held only that

       states could not bring parens patriae actions against the federal

       government, see 383 U.S. at 323-24, which is not a theory of

       standing on which the Plaintiff-States rely.             And while it is true

       that Brackeen, 599 U.S. at 295 n.11, and Murthy, 603 U.S. at 76,

       denied the plaintiff-states' assertions of third-party standing in

       those cases as "thinly veiled attempt[s] to circumvent the limits

       on   parens    patriae     standing,"    the   Court    did   so   because     the

       plaintiff-states there did not successfully allege a concrete


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       Article III injury -- which, for reasons explained above, the

       Government has failed to make a "strong showing" is likely the

       case here.     Furthermore, in those cases, there was no sense in

       which enforcement of the challenged governmental action against

       the plaintiff-states "indirectly" resulted in the violation of the

       constitutional rights held by individuals.          June Med. Servs., 591

       U.S. at 318 (citing Kowalski, 543 U.S. at 130).

                  Thus, we do not see how the Government has made, through

       its arguments to us, a "strong showing" that it is likely to

       prevail in its contention that the Plaintiff-States do not have

       standing to assert the federal constitutional and statutory rights

       to United States citizenship of the individuals who would not be

       recognized as having such citizenship under the Executive Order.9

                                           C.

                  The Government's failure to make a "strong showing" to

       undermine the Plaintiff-States' standing -- and thus as to the

       first Nken factor -- adversely impacts the arguments that it makes

       about what it describes as the "remaining" Nken factors.               As to

       the second and fourth Nken factors -- whether the Government "will



            9 We note that the Government does not make any independent
       argument that the Plaintiff-States either fall outside the "zone
       of interest" of, or fail to invoke a valid cause of action with
       respect to, the rights asserted under 8 U.S.C. § 1401 and the
       Citizenship Clause of the Fourteenth Amendment.       Cf. INS v.
       Legalization Assistance Project of the L.A. Cnty. Fed'n of Labor,
       510 U.S. 1301, 1305 (1993) (O' Connor, J., in chambers).


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       be irreparably injured absent a stay" and whether the stay would

       be in "the public interest" -- the Government contends that they

       "merge" when the Government is the party seeking a stay of a

       preliminary injunction against it.            Nken, 556 U.S. at 435.          The

       Government      contends   that   is   so    because   any   injunction      that

       "prevents the President from carrying out his broad authority over

       and responsibility for immigration matters" results in irreparable

       harm to it and thus the public interest.               But the precedent to

       which    the    Government   cites     in   support    of   its   argument   for

       satisfying its burden as to these two factors found such an

       injunction to be "an improper intrusion by a federal court into

       the workings of a coordinate branch of the Government" only because

       the Government had shown that the plaintiffs likely "had no

       standing to seek the order entered by the District Court."                INS v.

       Legalization Assistance Project of the L.A. Cnty. Fed'n of Labor,

       510 U.S. 1301, 1305-06 (1993) (O' Connor, J., in chambers).                As we

       have just explained, the Government has not made a "strong showing"

       that the Plaintiff-States are likely to fail in establishing their

       standing.      In addition, as we noted at the outset, the Government

       has not made any developed argument in support of its stay motion

       that it is likely to succeed in showing that the Executive Order

       is lawful.

                      The Government relatedly argues that the injunction is

       "especially harmful" because "the challenged Executive Order is an


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       integral part of President Trump's broader effort to repair the

       United States' immigration system and to address the ongoing crisis

       at the southern border."         Because the Government has not made a

       "strong showing" that it is likely to succeed in showing either

       that the lower court had no power to enter an injunction or that

       the enjoined conduct was lawful, we do not see how this contention

       can suffice to show that the Government has met its burden as to

       the irreparable harm and public interest factors any more than the

       contention just considered could do so.

                  We note, too,     to the extent that          we must consider

       "irreparable injury to the parties or to the public resulting from

       the premature enforcement of a determination which may later be

       found to have been wrong"          in assessing the public interest,

       Scripps-Howard Radio v. FCC, 316 U.S. 4, 9 (1942) (emphasis added),

       we must consider how the interests of the broader public are

       affected by "premature enforcement" of the determination in the

       Executive Order regarding who is entitled to be recognized as a

       U.S. citizen.     The risks that this determination may later be

       deemed wrong are high, given that the Government does not argue to

       us that the Executive Order likely complies with either federal

       constitutional or federal statutory law.         And, understandably, the

       Government does not dispute that the public has a substantial

       interest in ensuring that those entitled to be recognized as U.S.

       citizens under the criteria on which officials at all levels of


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       government have long relied are not unlawfully deprived of that

       recognition.          So, as to the first two Nken factors -- which are

       the    most   critical        ones    --    and     the     fourth    Nken     factor,     the

       Government has not met its burden.

                     With respect to the third Nken factor -- whether the

       "issuance of the stay will substantially injure the other parties

       interested in the proceeding" -- the Government also bears the

       burden as the party seeking the stay.                          See Nken, 556 U.S. at

       433-34.         To     meet     it,     the     Government         contends        that    the

       Plaintiff-States         "have       failed    to     show    that any     such     injuries

       occurring between now and final judgment would be irreparable."

       That is so, the Government contends, because the Plaintiff-States

       have failed to demonstrate that any loss of federal funds "could

       not be recovered through submission of claims after final judgment

       or    through    the    administrative          procedures         applicable      to     those

       programs"       and     "requiring         exhaustion         of   claims      through      an

       administrative process that could result in payment of contested

       claims [does not] constitute irreparable harm."

                     In its motion for a stay to the District Court, however,

       the Government did not make this contention, which, we note, also

       does not address the significant additional burdens that the

       District Court identified in finding that the Plaintiff-States

       would    suffer       irreparable      harm     in    the     absence     of   preliminary

       injunctive      relief     to    redress       their       Article III       injury.       Cf.


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       Acevedo-García v. Vera-Monroig, 296 F.3d 13, 17-18 (1st Cir. 2002)

       (declining to consider arguments raised for first time in this

       court in support of stay pending appeal of preliminary injunction).

       This waiver aside, we note that the Plaintiff-States asserted

       during the preliminary injunction proceedings below that, even

       after final judgment in this litigation, they would not be able to

       recoup the lost EAB servicing fees if families do not obtain an

       SSN at birth through the EAB program, cf. Biden, 143 S. Ct. at

       2366, and the Government does not contend otherwise.                 Furthermore,

       with respect to other federal funds that the Plaintiff-States

       assert enforcement of the Executive Order would cause them to lose,

       the Government does not, in attempting to meet its burden as to

       the third Nken factor, explain how the Plaintiff-States could

       recoup those funds after final judgment.               Nor does the Government

       address the Plaintiff-States' assertion that any administrative

       proceedings applicable to the recoupment of these funds would be

       unable to adjudicate constitutional challenges to the eligibility

       criteria for those funds.

                    While the Government separately contends with respect to

       the      third     Nken   factor    that    the      alleged     harms     to   the

       Plaintiff-States will occur "years in the future," it does so for

       the first time in its reply to the Plaintiff-States' opposition to

       the motion for the stay.             See Sparkle Hill, 788 F.3d at 29.

       Moreover,        the   Government   does   not    grapple     with   declarations


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       submitted by the Plaintiff-States in the preliminary injunction

       proceedings that show that the loss of federal funds for healthcare

       insurance and the loss of fees from the EAB program would occur

       immediately upon the birth of any newborns who would not be

       recognized as U.S. citizens if the Executive Order were enforced.

       Thus, the Government has not shown that it has met its burden with

       respect to the third Nken factor, insofar as it seeks to meet that

       burden by challenging the District Court's determination that the

       Plaintiff-States     had    established      that     they    would      suffer

       irreparable harm in the absence of their requested relief.                    We

       therefore conclude that the Government has failed to meet its

       burden as to the third Nken factor, just as it has failed to meet

       its burden with respect to the other Nken factors.

                                          III.

                  The Government separately contends that, under the Nken

       factors, it is at least entitled to a stay pending appeal of the

       preliminary injunction as to its nationwide application.                      In

       opposing    the    Plaintiff-States'        request    for    a       nationwide

       preliminary injunction, however, the Government made only the

       broad argument -- not now asserted -- that the District Court

       lacked the authority to enjoin the Government's conduct toward any

       nonparties because district courts necessarily lack the power to

       enjoin nonparties.     Then, in seeking a stay as to the nationwide

       aspect of the injunction in front of the District Court, the


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       Government did not repeat that categorical contention.                   It instead

       argued that a court abuses its discretion when it issues an

       injunction that is not necessary to provide "complete relief to

       the plaintiff[s]," and that it is likely to succeed in showing

       that     this     injunction   was     not    so    necessary      because      the

       Plaintiff-States'       claimed      injuries      could    be   "substantially

       remedied by an order that provided relief only within their

       borders."       Now, in its application to our court for a stay pending

       appeal, the Government contends that the preliminary injunction is

       overbroad because "complete relief" could have been provided by a

       preliminary injunction that "required the federal defendants to

       treat the children covered by the Executive Order as eligible for

       the services the [Plaintiff-States] administer."

                   The Plaintiff-States argue that the Government did not

       apprise the District Court of the alternative injunction that it

       now identifies in its stay motion to us, and, in doing so, they

       point out that the Government offers no details on "how such an

       injunction would be designed or enforced."                 They thus argue that

       the Government cannot assert the availability of such an injunction

       now as a reason for granting, in part, the stay motion.

                   The Government responds that it has consistently lodged

       the same challenge to the nationwide scope of the injunction

       throughout the course of this litigation.             We cannot agree.




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                   The argument that the Government now presses in its stay

       motion is obviously not the far more sweeping one advanced in

       challenging the granting of a nationwide preliminary injunction in

       the preliminary injunction proceedings themselves.              In requesting

       a stay in front of the District Court, moreover, the Government

       contested    the    District     Court's     finding   that     a      nationwide

       preliminary injunction was necessary to provide complete relief to

       the Plaintiff-States only on the ground that "the remote concern

       that babies will be born after the effective date of the [Executive

       Order] but also move into the plaintiff states while this case is

       pending is too speculative to justify such sweeping relief."                   In

       context,    then,    its   contention        at    that    time        that   the

       Plaintiff-States' claimed injuries would be substantially remedied

       by an order that provided relief "only within their borders" was

       a contention that the Executive Order not be enforced against the

       Plaintiff-States as to children born inside their borders but still

       be enforced against them as to children born outside.                    That is

       different from the contention that it now makes in opposing the

       nationwide aspect of the injunction, which focuses on which state

       administers the service -- rather than where the children are born.

       Thus, we decline to address the contention.               See Philip Morris,

       Inc. v. Harshbarger, 159 F.3d 670, 680 (1st Cir. 1998) (explaining

       that "[a]s a general rule, a disappointed litigant cannot surface

       an objection to a preliminary injunction for the first time in an


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       appellate venue" because doing so deprives the district court of

       the opportunity to "consider [the objection] and correct the

       injunction if necessary, without the need for appeal" (internal

       quotation marks omitted) (quoting United States v. Zenon, 711 F.2d

       476,     478   (1st   Cir.    1983)));    Acevedo-García,       296   F.3d     at    18

       (declining to consider arguments raised for first time in this

       court in support of stay pending appeal of preliminary injunction).

                      We do note, however, that, waiver aside, the Government

       cites no authority for the proposition that the first Nken factor

       weighs in favor of a stay of a preliminary injunction as to its

       nationwide scope even when the party seeking such a stay makes no

       "strong showing" that it is likely to succeed in demonstrating

       either that the challenged conduct is lawful or that the plaintiff

       lacks standing to bring the challenge.                 Cf. Biden, 143 S. Ct. at

       2376 (denying "as moot" the Government's application to vacate, or

       at a minimum narrow, the lower court's nationwide injunction

       pending        appeal,   in     light     of     its    conclusion         that     the

       plaintiff-states there had standing to challenge the Government

       action, see id. at 2365-68, and that the challenged action was

       unlawful, see id. at 2365-75).              And yet, the Government, as we

       have explained, has not made a strong showing as to either the

       Executive Order's lawfulness or the Plaintiff-States' lack of

       standing. Accordingly, the Government has failed to make a "strong

       showing" that the first Nken factor favors the grant of a stay


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       pending appeal of the preliminary injunction as to its nationwide

       application.

                      The only other Nken factor that the Government addresses

       in seeking a stay as to the injunction's scope is whether such a

       stay would be in the public interest.                  In that regard, it asserts

       that     the   public-interest         factor     weighs     against    a     nationwide

       preliminary injunction because "nineteen other States filed amicus

       briefs opposing a preliminary injunction here."                    According to the

       Government, the District Court's order "imposes an injunction on

       those non-party States to which they object."

                      There is no preliminary injunction, however, against any

       non-party States, only a preliminary injunction that bars the

       Government from enforcing the Executive Order against those states

       (and     every    other      state).    Nor     does   the    Government       cite   any

       authority        for   the    proposition     that     a   nationwide       preliminary

       injunction is against the public interest whenever nineteen states

       oppose the entry of the injunction against federal officials -- and

       so even as to the specific circumstance that we confront here,

       which involves a proposed change to the long-established means by

       which the United States has determined who its citizens are. Nken,

       556 U.S. at 433 (explaining that because a stay is "an exercise of

       judicial discretion," "the propriety of its issue is dependent

       upon the circumstances of the particular case" (quoting Virginian

       Ry. Co. v. United States, 272 U.S. 658, 672-73 (1926))).                           Thus,


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       the Government has not met its burden under the Nken factors for

       a stay as to the nationwide scope of the preliminary injunction.

                                              IV.

                   There is one hanging thread.           In challenging the scope

       of the District Court's preliminary injunction, the Government

       separately argues that it is overbroad to the extent that it

       "prevents . . . the Executive Branch as a whole from beginning the

       process     of   formulating      relevant     policies    and    guidance    for

       implementing the President's Order" because the Plaintiff-States

       cannot claim any injury from such "internal operations."                 But, as

       the District Court noted, the Government does not identify any

       such steps that it wishes to take but is enjoined from taking by

       the District Court's order.         Nor do we read the plain terms of the

       District Court's order to enjoin "internal operations" that are

       "preparatory     operations    that    cannot    impose    any   harm"   on   the

       Plaintiff-States.

                                               V.

                   For the reasons given above, the motion for a stay

       pending appeal is denied.         A briefing order shall issue forthwith.




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